®, AQ 472 (Rev. 3/86) Order of Detention Pending Trial
Case 4.22-m-UUug21-BP Documem 10 Fied ii7zsfzz_ Page Tori PagetD 2t

UNITED STATES DISTRICT COURT

 

 

 

Northern District of Texas at Fort Worth
UNITED STATES OF AMERICA
Vv. ORDER OF DETENTION PENDING TRIAL
XAVIER DESEAN WATSON Case 4:22-MJ-921 (01)
Defendant

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude
that the following facts require the detention of the defendant pending trial in this case.

Part I—Findings of Fact
CJ (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted ofa [) federal offense [state
or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
CI acrime of violence as defined in 18 U.S.C. § 3156(a)(4).
(1 $an offense for which the maximum sentence is life imprisonment or death.
()_ an offense for which a maximum term of imprisonment of ten years or more is prescribed in

 

 

[1] a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C
§ 3142(N(1)(A)-(C). or comparable state or local offenses.
(2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
(3) A period of not more than five years has elapsed since the [7] date of conviction [[] release of the defendant from imprisonment
for the offense described in finding (1).
FE] (4) Findings Nos. (1). (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
safety of (an) other person(s) and the community. | further find that the defendant has not rebutted this presumption.
Alternative Findings (A)
[1 (1) There is probable cause to believe that the defendant has committed an offense
(J for which a maximum term of imprisonment of ten years or more is prescribed in
CJ under 18 U.S.C. § 924(c). 3 9022
C] under

[J (2) The defendant has not rebutted the presumption established by finding | that no condition or combination of conditions willreasanably assure
the appearance of the defendant as required and the safety of the community. |
Alternative Findings (B)
d/ 1) There is a serious risk that the defendant will not appear.

(2) There is a seriops risk that the defendant will endanger the safety of another person or the community.

Ke cin ~

O00

 

 

 

 

 

Part 1I—Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by CJ clear and convincing evidence [J a prepon-
derance of the evidence that

 

 

 

 

Part I[1I—Directions Regarding Detention

 
  
 

Government, the person in charge of the corrections facility sh
in connection with a court proceeding,

November 23, 2022 Pot Dh. 5

Date Signature of Judicial Officer
JEFFREY L. CURETON, UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 861 ef seg. % (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.): or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 953
